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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

 DEVON THOMPSON,

        Plaintiff,
                                               CASE NO.:
 v.
                                               DIVISION:
 OLDCASTLE SERVICES, INC.

       Defendant.
 ____________________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff, Devon Thompson, by and through undersigned counsel, brings this action

 against Defendant, Oldcastle Services, Inc., and in support states as follows:

                             JURISDICTION AND VENUE

        1.      This is an action for damages under the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. § 201 et seq., for failure to pay overtime wages under 29 U.S.C. §

 215(a)(3).

        2.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 29

 U.S.C. § 201 et seq.

        3.      Venue is proper in the Middle District of Florida, because all of the events

 giving rise to these claims occurred in Hillsborough County, Florida.

                                         PARTIES

        4.      Plaintiff is a resident of Hillsborough County, Florida.

        5.      Defendant operates as a manufacturer and supplier of concrete masonry, dry

 mix, and hardscape products in Tampa, Florida, in Hillsborough County, Florida.
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                               GENERAL ALLEGATIONS

        6.     Plaintiff has satisfied all conditions precedent, or they have been waived.

        7.     Plaintiff has hired the undersigned attorneys and agreed to pay them a fee.

        8.     Plaintiff requests a jury trial for all issues so triable.

        9.     At all times material hereto, Plaintiff was “engaged in the production of

 goods” for commerce within the meaning of Sections 6 and 7 of the FLSA, and as such

 was subject to the individual coverage of the FLSA.

        10.    At all times material hereto, Plaintiff was an “employee” of Defendant

 within the meaning of the FLSA.

        11.    At all times material hereto, Defendant was an “employer” within the

 meaning of the FLSA, 29 U.S.C. § 203(d).

        12.    Defendant continues to be an “employer” within the meaning of the FLSA.

        13.    At all times material hereto, Defendant was and continues to be an

 enterprise engaged in the “providing of services for commerce” within the meaning of the

 FLSA, 29 U.S.C. §§ 203(r) and 203(s).

        14.    At all times relevant to this action, the annual gross sales volume of

 Defendant exceeded $500,000 per year.

        15.    At all times material hereto, the work performed by Plaintiff was directly

 essential to the business performed by Defendant.




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                                           FACTS

           16.   Plaintiff began working for Defendant as a delivery driver in November

 2017, and he worked in this capacity until June 2019.

           17.   At various times material hereto, Plaintiff worked hours in excess of forty

 (40) hours within a work week for Defendant, and he was entitled to be compensated for

 these overtime hours at a rate equal to one and one-half times his regular hourly rate.

           18.   Defendant failed to pay Plaintiff an overtime premium for all of the

 overtime hours that he worked, in violation of the FLSA.

           19.   Defendant only paid Plaintiff a flat rate per load of hardscape products

 within a sixty (60) mile radius but paid a mileage rate for deliveries beyond the sixty mile

 radius.

           20.   Defendant only paid Plaintiff $10.00 per hour for “downtime” for which he

 suffered or was permitted to work by Defendant within the meaning of the FLSA.

           21.   Defendant required Plaintiff to clock in at the beginning of his workday and

 clock out at the end of his workday, however Defendant changed those times.

           22.   Defendant failed to maintain timekeeping records of Plaintiff’s hours that

 he worked for Defendant.

           23.   Defendant’s actions were willful, and showed reckless disregard for the

 provisions of the FLSA.

                      COUNT I – FLSA OVERTIME VIOLATION

           24.   Plaintiff realleges and readopts the allegations of paragraphs 1 through 20

 of this Complaint, as though fully set forth herein.




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        25.    During the statutory period, Plaintiff worked overtime hours while

 employed by Defendant, and he was not compensated for all of these hours in accordance

 with the FLSA.

        26.    The foregoing conduct, as alleged, constitutes a willful violation of the

 FLSA, within the meaning of 29 U.S.C. § 255(a).

        27.    As a result of the foregoing, Plaintiff has suffered damages.

        WHEREFORE, Plaintiff demands:

               a)     Judgment against Defendant for an amount equal to Plaintiff’s

                      unpaid back wages at the applicable overtime rate;

               b)     Judgment against Defendant, stating that Defendant’s violations of

                      the FLSA were willful;

               c)     An amount equal to Plaintiff’s overtime damages as liquidated

                      damages;

               d)     To the extent liquidated damages are not awarded, an award of

                      prejudgment interest;

               e)     A declaratory judgment that Defendant’s practices as to Plaintiff

                      were unlawful, and a grant of equitable relief to Plaintiff;

               f)     All costs and attorney’s fees incurred in prosecuting these claims;

                      and

               g)     For such further relief as this Court deems just and equitable.




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                                JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.

       Dated this 28th day of January, 2019.

                                                Respectfully submitted,

                                                /s/ Brandon J. Hill
                                                BRANDON J. HILL
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                                                AMANDA E. HEYSTEK
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